Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 1 of 29 PageID #: 37813




                    EXHIBIT T
          Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 2 of 29 PageID #: 37814
                                                        Morbidity and Mortality Weekly Report



            CDC Grand Rounds: Prescription Drug Overdoses — a U.S. Epidemic

   In 2007, approximately 27,000 unintentional drug over-                      Among patients who are prescribed opioids, an estimated
dose deaths occurred in the United States, one death every                   80% are prescribed low doses (<100 mg morphine equivalent
19 minutes. Prescription drug abuse is the fastest growing drug              dose per day) by a single practitioner (7,8), and these patients
problem in the United States. The increase in unintentional                  account for an estimated 20% of all prescription drug over-
drug overdose death rates in recent years (Figure 1) has been                doses (Figure 3). Another 10% of patients are prescribed high
driven by increased use of a class of prescription drugs called              doses (≥100 mg morphine equivalent dose per day) of opioids
opioid analgesics (1). Since 2003, more overdose deaths have                 by single prescribers and account for an estimated 40% of
involved opioid analgesics than heroin and cocaine combined                  prescription opioid overdoses (9,10). The remaining 10%
(Figure 2) (1). In addition, for every unintentional overdose                of patients are of greatest concern. These are patients who
death related to an opioid analgesic, nine persons are admitted              seek care from multiple doctors and are prescribed high daily
for substance abuse treatment (2), 35 visit emergency depart-                doses, and account for another 40% of opioid overdoses (11).
ments (3), 161 report drug abuse or dependence, and 461                      Persons in this third group not only are at high risk for overdose
report nonmedical uses of opioid analgesics (4). Implementing                themselves but are likely diverting or providing drugs to oth-
strategies that target those persons at greatest risk will require           ers who are using them without prescriptions. In fact, 76% of
strong coordination and collaboration at the federal, state,                 nonmedical users report getting drugs that had been prescribed
local, and tribal levels, as well as engagement of parents, youth            to someone else, and only 20% report that they acquired the
influencers, health-care professionals, and policy-makers.                   drug from their own doctor (4). Furthermore, among persons
   Overall, rates of opioid analgesic misuse and overdose death              who died of opioid overdoses, a significant proportion did not
are highest among men, persons aged 20–64 years, non-His-                    have a prescription in their records for the opioid that killed
panic whites, and poor and rural populations. Persons who have               them; in West Virginia, Utah, and Ohio, 25%–66% of those
mental illness are overrepresented among both those who are                  who died of pharmaceutical overdoses used opioids originally
prescribed opioids and those who overdose on them. Further                   prescribed to someone else (11–13). These data suggest that
defining populations at greater risk is critical for development             prevention of opioid overdose deaths should focus on strategies
and implementation of effective interventions. The two main                  that target 1) high-dosage medical users and 2) persons who
populations in the United States at risk for prescription drug               seek care from multiple doctors, receive high doses, and likely
overdose are the approximately 9 million persons who report                  are involved in drug diversion.
long-term medical use of opioids (5), and the roughly 5 mil-
lion persons who report nonmedical use (i.e., use without a                  Prevention Strategies
prescription or medical need), in the past month (4). In an                     Some promising strategies exist for addressing these two
attempt to treat patient pain better, practitioners have greatly             high-risk groups. The first is use of prescription data combined
increased their rate of opioid prescribing over the past decade.             with insurance restrictions to prevent “doctor shopping” and
Drug distribution through the pharmaceutical supply chain                    reduce inappropriate use of opioids. Users of multiple provid-
was the equivalent of 96 mg of morphine per person in 1997                   ers for the same drug, people routinely obtaining early refills,
and approximately 700 mg per person in 2007, an increase of                  and persons engaged in other inappropriate behaviors can be
>600% (6). That 700 mg of morphine per person is enough                      tracked with state prescription drug monitoring programs or
for everyone in the United States to take a typical 5 mg dose                insurance claim information. Public and private insurers can
of Vicodin (hydrocodone and acetaminophen) every 4 hours                     limit the reimbursement of claims for opioid prescriptions to
for 3 weeks. Persons who abuse opioids have learned to exploit               a designated doctor and a designated pharmacy. This action
this new practitioner sensitivity to patient pain, and clinicians            is especially important for public insurers because Medicaid
struggle to treat patients without overprescribing these drugs.              recipients and other low-income populations are at high risk
                                                                             for prescription drug overdose. Insurers also can identify inap-
                                                                             propriate use of certain opioids for certain diagnoses (e.g., the
        This is another in a series of occasional MMWR reports titled
                                                                             use of extended-release or long-acting opioids like transdermal
     CDC Grand Rounds. These reports are based on grand rounds
     presentations at CDC on high-profile issues in public health sci-
                                                                             fentanyl or methadone for short-term pain).
     ence, practice, and policy. Information about CDC Grand Rounds             A second strategy is improving legislation and enforcement of
     is available at http://www.cdc.gov/about/grand-rounds.                  existing laws. Most states now have laws against doctor shopping,
                                                                             but they are not enforced uniformly. In contrast, only a few states


10                  MMWR / January 13, 2012 / Vol. 61 / No. 1
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 3 of 29 PageID #: 37815
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 4 of 29 PageID #: 37816
        Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 5 of 29 PageID #: 37817
                                                         Morbidity and Mortality Weekly Report



                             Reported by                                       6. US Department of Justice, Drug Enforcement Administration.
                                                                                  Automation of Reports and Consolidated Orders System (ARCOS).
Leonard Paulozzi, MD, Grant Baldwin, PhD, Div of                                  Available at http://www.deadiversion.usdoj.gov/arcos/index.html.
Unintentional Injury Prevention, National Center for Injury                       Accessed January 9, 2012.
Prevention and Control, CDC. Gary Franklin, MD, Washington                     7. Edlund MJ, Martin BC, Fan MY, Braden JB, Devries A, Sullivan MD.
                                                                                  An analysis of heavy utilizers of opioids for chronic noncancer pain in
State Agency Medical Directors’ Group, Olympia, Washington. R.                    the TROUP Study. J Pain Symptom Manage 2010;40:279–89.
Gil Kerlikowske, MA, Christopher M. Jones, Pharm D, Office of                  8. Katz N, Panas L, Kim M, et al., Usefulness of prescription monitoring
National Drug Control Policy, Washington, DC. Neelam Ghiya,                       programs for surveillance—analysis of Schedule II opioid prescription
                                                                                  data in Massachusetts, 1996–2006. Pharmacoepidemiol Drug Safety
MPH, Tanja Popovic, MD, PhD, Office of the Director, CDC.                         2010;19:115–23.
Corresponding contributor: Leonard Paulozzi, lbp4@cdc.gov.                     9. Dunn KM, Saunders KW, Rutter CM, et al. Opioid prescriptions for
                                                                                  chronic pain and overdose. Ann Intern Med 2010;152:85–92.
                              References                                      10. Bohnert AS, Valenstein M, Bair MJ, et al. Association between opioid
                                                                                  prescribing patterns and opioid overdose-related deaths. JAMA 2011;
 1. CDC. Policy impact: prescription painkiller overdoses. Atlanta, GA: US
                                                                                  305:1315–21.
    Department of Health and Human Services, CDC; 2011. Available at
                                                                              11. Hall AJ, Logan JE, Toblin RL, et al. Patterns of abuse among unintentional
    http://www.cdc.gov/homeandrecreationalsafety/rxbrief/index.html.
                                                                                  pharmaceutical overdose fatalities. JAMA 2008;300:2613–20.
    Accessed January 9, 2012.
                                                                              12. Ohio Department of Health. Ohio drug poisoning fact sheet: epidemic
 2. Substance Abuse and Mental Health Services Administration, Office of
                                                                                  of prescription drug overdoses in Ohio. Available at http://www.
    Applied Studies. National admissions to substance abuse treatment
                                                                                  healthyohioprogram.org/diseaseprevention/dpoison/drugdata.aspx.
    services. Rockville, MD: Substance Abuse and Mental Health Services
                                                                                  Accessed January 9, 2012.
    Administration; 2009.
                                                                              13. Lanier WA. Prescription opioid overdose deaths—Utah, 2008–2009.
 3. Substance Abuse and Mental Health Services Administration. The
                                                                                  Presented at the 59th Annual Epidemic Intelligence Service Conference.
    DAWN report: highlights of the 2009 Drug Abuse Warning Network
                                                                                  Atlanta, GA, April 19–23, 2010.
    (DAWN) findings on drug-related emergency department visits.
                                                                              14. Franklin GM, Rahman EA, Turner JA, Daniell WE, Fulton-Kehoe D.
    Rockville, MD: Substance Abuse and Mental Health Services
                                                                                  Opioid use for chronic low back pain: a prospective, population-based
    Administration; 2010. Available at http://www.samhsa.gov/data/2k10/
                                                                                  study among injured workers in Washington State, 2002–2005. Clin J
    dawnsr034edhighlights/edhighlights.htm. Accessed January 9, 2012.
                                                                                  Pain 2009;25:743–51.
 4. Substance Abuse and Mental Health Services Administration. Results from
                                                                              15. Yoast R, Williams MA, Deitchman SD, Champion HC. Report of the
    the 2009 National Survey on Drug Use and Health: volume 1: summary
                                                                                  Council on Scientific Affairs: methadone maintenance and needle-
    of national findings. Rockville, MD: Substance Abuse and Mental Health
                                                                                  exchange programs to reduce the medical and public health consequences
    Services Administration; 2010.
                                                                                  of drug abuse. J Addict Dis 2001;20:15–40.
 5. Boudreau D, Von Korff M, Rutter CM, et al. Trends in long-term opioid
    therapy for chronic non-cancer pain. Pharmacoepidemiol Drug Saf 2009;
    18:1166–75.




                                                                                          MMWR / January 13, 2012 / Vol. 61 / No. 1                      13
          Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 6 of 29 PageID #: 37818
                                                               Morbidity and Mortality Weekly Report



        Vital Signs: Binge Drinking Prevalence, Frequency, and Intensity Among
                              Adults — United States, 2010

     On January 10, 2012, this report was posted as an MMWR Early Release on the MMWR website (http://www.cdc.gov/mmwr).


                                                                               Abstract
      Background: Binge drinking accounts for more than half of the estimated 80,000 average annual deaths and three quarters
      of $223.5 billion in economic costs resulting from excessive alcohol consumption in the United States.
      Methods: CDC analyzed data collected in 2010 on the prevalence of binge drinking (defined as four or more drinks
      for women and five or more drinks for men on an occasion during the past 30 days) among U.S. adults aged ≥18 years
      in 48 states and the District of Columbia; and on the frequency (average number of episodes per month) and intensity
      (average largest number of drinks consumed on occasion) among binge drinkers.
      Results: The overall prevalence of binge drinking was 17.1%. Among binge drinkers, the frequency of binge drinking was
      4.4 episodes per month, and the intensity was 7.9 drinks on occasion. Binge drinking prevalence (28.2%) and intensity
      (9.3 drinks) were highest among persons aged 18–24 years. Frequency was highest among binge drinkers aged ≥65 years
      (5.5 episodes per month). Respondents with household incomes ≥$75,000 had the highest binge drinking prevalence
      (20.2%), but those with household incomes <$25,000 had the highest frequency (5.0 episodes per month) and intensity
      (8.5 drinks on occasion). The age-adjusted prevalence of binge drinking in states ranged from 10.9% to 25.6%, and the
      age-adjusted intensity ranged from 6.0 to 9.0 drinks on occasion.
      Conclusions: Binge drinking is reported by one in six U.S. adults, and those who binge drink tend to do so frequently
      and with high intensity.
      Implications for Public Health Practice: More widespread implementation of Community Guide–recommended
      interventions (e.g., measures controlling access to alcohol and increasing prices) could reduce the frequency, intensity,
      and ultimately the prevalence of binge drinking, as well as the health and social costs related to it.


Introduction                                                                          sexually transmitted diseases, unintended pregnancy, fetal
  Excessive alcohol use* accounted for an estimated average                           alcohol syndrome, and sudden infant death syndrome (3).
of 80,000 deaths and 2.3 million years of potential life lost                         In 2010, 85% of all alcohol-impaired driving episodes were
(YPLL)† in the United States each year during 2001–2005,                              reported by persons who also reported binge drinking (4). In
and an estimated $223.5 billion in economic costs in 2006                             the United States, binge drinking accounts for more than half
(1). Binge drinking accounted for more than half of those                             of the alcohol consumed by adults (5) and 90% of the alcohol
deaths, two thirds of the YPLL (2), and three quarters of the                         consumed by youths (6). However, most binge drinkers are
economic costs (1). Binge drinking also is a risk factor for many                     not alcohol dependent (7).
health and social problems, including motor-vehicle crashes,                             Reducing the prevalence of binge drinking among adults is
violence, suicide, hypertension, acute myocardial infarction,                         a leading health indicator in Healthy People 2020 (objective
                                                                                      SA-14.3) (8). To assess measures of binge drinking nationwide
* Excessive alcohol use includes binge drinking (defined by CDC as consuming          and by state, CDC analyzed developmental data§ from the
  four or more drinks per occasion for women or five or more drinks per occasion
  for men), heavy drinking (defined as consuming more than one drink per day          2010 Behavioral Risk Factor Surveillance System (BRFSS) on
  on average for women or more than two drinks per day on average for men),           the prevalence of binge drinking among adults, and on the
  any alcohol consumption by pregnant women, and any alcohol consumption
  by youths aged <21 years.
                                                                                      frequency and intensity of drinking among respondents who
† YPLL for 2001–2005 were estimated using the Alcohol-Related Disease Impact          reported binge drinking.
  (ARDI) application using death and life expectancy data from the National
  Vital Statistics System. Additional information is available at http://apps.nccd.   § The  2010 BRFSS developmental dataset included combined landline and
  cdc.gov/dach_ardi/default/default.aspx.                                              cellular telephone–only adults and used the raking method for weighting.




14                   MMWR / January 13, 2012 / Vol. 61 / No. 1
          Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 7 of 29 PageID #: 37819
                                                                    Morbidity and Mortality Weekly Report



Methods                                                                                     not available. A total of 457,677 respondents (422,039 landline
  BRFSS is a state-based, random-digit–dialed telephone survey of                           respondents and 35,638 cellular telephone respondents) were
noninstitutionalized, civilian U.S. adults that collects information                        included in the analysis. Two-tailed t-tests were used to assess
on many health conditions and risk behaviors, including binge                               statistical significance (p<0.05). Only statistically significant
drinking. BRFSS surveys are administered to households with                                 subgroup differences are reported. State estimates were age-
landlines in all states and the District of Columbia (DC).                                  adjusted to the 2000 U.S. Census standard population.
  In September 2011, BRFSS released a developmental dataset
for 2010¶ that included combined landline and cellular tele-                                Results
phone–only adults and used the raking method** for weight-                                     In 2010, the overall prevalence of binge drinking among
ing, known also as iterative proportional fitting (9). A total                              adults in the 48 states and DC was 17.1% (Table 1). Binge
of 48 states (all except South Dakota and Tennessee) and DC                                 drinking prevalence among men (23.2%) was twice that of
administered the survey to landline and cellular telephone-only                             women (11.4%). Men who reported binge drinking reported
adults, and a median of 7.2% of the total surveys in these states                           a higher frequency and intensity (5.0 episodes per month
were completed by cellular telephone-only adults (range: 2.0%                               and 9.0 drinks on occasion) than women (3.2 episodes per
in New Jersey to 32.0% in Minnesota).                                                       month and 5.9 drinks on occasion). Binge drinking also was
  Annually, respondents who report consuming any alcoholic                                  most common among persons aged 18–24 years (28.2%)
beverages are asked how many times they engaged in binge                                    and 25–34 years (27.9%), and decreased with increasing age.
drinking, defined as consuming four or more alcoholic drinks                                However, the highest frequency of binge drinking by age was
per occasion for women and five or more drinks per occasion for                             reported by persons aged ≥65 years (5.5 episodes per month).
men during the preceding 30 days.†† In addition, respondents                                The intensity of binge drinking was highest among persons
who report alcohol consumption are asked about the largest                                  aged 18–24 years (9.3 drinks on occasion) and 25–34 years
number of drinks they had on any occasion in the preceding                                  (8.4 drinks on occasion) and decreased with age. The preva-
30 days. The average prevalence of binge drinking was calculated                            lence of binge drinking among non-Hispanic whites (18.0%)
by dividing the total number of respondents who reported at least                           was similar to the prevalence among Hispanics (17.9%), but
one binge drinking episode during the preceding 30 days by the                              significantly higher than the prevalence for non-Hispanic
total number of BRFSS respondents in the 48 participating states                            blacks (12.7%) and non-Hispanics from other racial and eth-
and DC. The average frequency of binge drinking was calculated                              nic groups (including American Indians/Alaska Natives and
by dividing the total number of binge drinking episodes by the                              Asians/Native Hawaiians or other Pacific Islanders) (15.3%).
total number of respondents who reported any binge drinking                                 The frequency of binge drinking was similar across racial and
during the preceding 30 days. The average intensity of binge                                ethnic groups, but the highest intensity was reported by binge
drinking was calculated by averaging the largest number of drinks                           drinkers who were non-Hispanics from other racial and ethnic
reported on an occasion by binge drinkers. Respondents who                                  groups (8.7 drinks) and by Hispanics (8.4 drinks on occasion).
refused to answer, had a missing answer, or who answered “don’t                             Respondents who did not graduate from high school had
know/not sure” were excluded from the analysis.                                             the lowest prevalence of binge drinking (13.7%), but those
  In 2010, the median Council of American Survey and                                        who binge drank had the highest frequency (5.5 episodes per
Research Organizations (CASRO) response rate for the landline                               month) and intensity (9.3 drinks on occasion) compared with
BRFSS was 54.6% (range: 39.1% to 68.8%), and the median                                     respondents with higher educational levels. Binge drinking
CASRO cooperation rate was 76.9% (range: 56.8%–86.1%).§§                                    prevalence increased with household income, and was high-
A response rate for the 2010 BRFSS developmental dataset was                                est among those with annual household incomes ≥$75,000
                                                                                            (20.2%). However, the highest frequency and intensity of
 ¶ In 2012, BRFSS will release its 2011 BRFSS dataset including larger number of
   cellular telephone respondents and will be changing its procedures for data weighting.
                                                                                            binge drinking by household income was reported by those
** With the raking process, BRFSS data are weighted to the age, sex, race,                  with incomes <$25,000 (5.0 episodes per month and 8.5 drinks
   educational, and marital status of each state’s adult population and to the              on occasion, respectively).
   respondent’s probability of selection. Raking also includes adjustment for
   cellular telephone only, landline only, and both cellular telephone and landline            The age-adjusted prevalence of binge drinking by state ranged
   use based on respondents’ telephone ownership.                                           from 10.9% (Utah) to 25.6% (Wisconsin) (Table 2). The age-
†† The BRFSS 2010 questionnaire, which includes five questions about alcohol
                                                                                            adjusted frequency of binge drinking ranged from 3.6 episodes per
   consumption, is available at http://www.cdc.gov/brfss/questionnaires/pdf-
   ques/2010brfss.pdf.                                                                      month (New Jersey) to 5.9 episodes per month (Kentucky). The
§§ The response rate is the percentage of persons who completed interviews                  age-adjusted intensity of binge drinking ranged from 6.0 drinks
   among all eligible persons, including those who were not contacted successfully.         on occasion (DC) to 9.0 drinks on occasion (Wisconsin). Overall,
   The cooperation rate is the percentage of persons who completed interviews
   among all eligible persons who were contacted.                                           states with the highest age-adjusted prevalence of adult binge


                                                                                                      MMWR / January 13, 2012 / Vol. 61 / No. 1           15
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 8 of 29 PageID #: 37820
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 9 of 29 PageID #: 37821
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 10 of 29 PageID #: 37822
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 11 of 29 PageID #: 37823
       Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 12 of 29 PageID #: 37824
                                                   Morbidity and Mortality Weekly Report



Notice to Readers

Discontinuation of Inclusion of Notifiable
Diseases and Mortality Tables in Print Copies of
the MMWR Weekly Publication
  Effective with this issue, the weekly Notifiable Diseases and
Mortality Tables (i.e., Figure I and Tables I, II, and III) no
longer will be included in print copies of the MMWR weekly
publication. The tables will continue to be included in the
online version of the weekly publication.
  All MMWR publications remain available at no charge
online at http://www.cdc.gov/mmwr. Readers who wish to
have MMWR publications e-mailed to them automatically at
no charge can subscribe online at http://www.cdc.gov/mmwr/
mmwrsubscribe.html. Print copies of MMWR’s weekly and serial
publications (i.e., Recommendations and Reports, Surveillance
Summaries, Supplements, and Summaries of Notifiable
Diseases) are available for a subscription fee from Massachusetts
Medical Society, and the MMWR weekly publication also is
available for a subscription fee from the U.S. Government
Printing Office at http://www.cdc.gov/mmwr/order.html.




20              MMWR / January 13, 2012 / Vol. 61 / No. 1
   Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 13 of 29 PageID #: 37825
                                                      Morbidity and Mortality Weekly Report



QuickStats

                                        FROM THE NATIONAL CENTER FOR HEALTH STATISTICS


                     Death Rates from Suicide* for Persons Aged 45–64 Years,
                    by Black or White Race and Sex — United States, 1999–2008

                            40
                                         White men
                                         Overall
                            35
                                         Black men
                                         White women
                            30
                                         Black women

                            25
                     Rate




                            20


                            15


                            10


                             5


                             0
                                 1999     2000      2001      2002       2003      2004       2005      2006       2007      2008
                                                                              Year


                    * Per 100,000 population. Deaths from suicide are those coded *U03, X60-X84, Y87.0 in International Classification
                      of Diseases, 10th Revision.


    From 1999 to 2008, the suicide death rate for persons aged 45–64 years increased overall (from 13.2 to 17.6 per 100,000 population)
    and for white men (from 22.6 to 30.7) and white women (from 6 7 to 9.4), whereas the rate did not change significantly for black
    men and women. Throughout the period, the suicide rate was highest for white men and lowest for black women. In 2008, the
    suicide rate for white men was 30.7 per 100,000 population, followed by 10.3 for black men, 9.4 for white women, and 1.6 for
    black women.
    Sources: National Vital Statistics System. Available at http://www.cdc.gov/nchs/nvss/mortality_public_use_data.htm. CDC. Health Data Interactive.
    Available at http://www.cdc.gov/nchs/hdi.htm.




                                                                                              MMWR / January 13, 2012 / Vol. 61 / No. 1                 21
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 14 of 29 PageID #: 37826
         Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 15 of 29 PageID #: 37827
                                                                      Morbidity and Mortality Weekly Report


TABLE I. (Continued) Provisional cases of infrequently reported notifiable diseases (<1,000 cases reported during the preceding year) — United States, week
ending January 7, 2012 (1st week)*
—: No reported cases. N: Not reportable. NN: Not Nationally Notifiable. Cum: Cumulative year-to-date counts.
  * Case counts for reporting year 2011 and 2012 are provisional and subject to change. For further information on interpretation of these data, see http://www.cdc.gov/osels/ph_surveillance/
    nndss/phs/files/ProvisionalNationa%20NotifiableDiseasesSurveillanceData20100927.pdf.
  † Calculated by summing the incidence counts for the current week, the 2 weeks preceding the current week, and the 2 weeks following the current week, for a total of 5 preceding years.
    Additional information is available at http://www.cdc.gov/osels/ph_surveillance/nndss/phs/files/5yearweeklyaverage.pdf.
  § Not reportable in all states. Data from states where the condition is not reportable are excluded from this table except starting in 2007 for the arboviral diseases, STD data, TB data, and
    influenza-associated pediatric mortality, and in 2003 for SARS-CoV. Reporting exceptions are available at http://www.cdc.gov/osels/ph_surveillance/nndss/phs/infdis.htm.
  ¶ Includes both neuroinvasive and nonneuroinvasive. Updated weekly from reports to the Division of Vector-Borne Infectious Diseases, National Center for Zoonotic, Vector-Borne, and
    Enteric Diseases (ArboNET Surveillance). Data for West Nile virus are available in Table II.
 ** Data for H. influenzae (all ages, all serotypes) are available in Table II.
 †† Updated weekly from reports to the Influenza Division, National Center for Immunization and Respiratory Diseases. Since October 2, 2011, no influenza-associated pediatric deaths
    occurring during the 2011-12 influenza season have been reported.
 §§ No measles cases were reported for the current week.
 ¶¶ Data for meningococcal disease (all serogroups) are available in Table II.
*** CDC discontinued reporting of individual confirmed and probable cases of 2009 pandemic influenza A (H1N1) virus infections on July 24, 2009. During 2009, four cases of human infection
    with novel influenza A viruses, different from the 2009 pandemic influenza A (H1N1) strain, were reported to CDC. The four cases of novel influenza A virus infection reported to CDC
    during 2010, and the eight cases reported during 2011, were identified as swine influenza A (H3N2) virus and are unrelated to the 2009 pandemic influenza A (H1N1) virus. Total case
    counts are provided by the Influenza Division, National Center for Immunization and Respiratory Diseases (NCIRD).
††† No rubella cases were reported for the current week.
§§§ Updated weekly from reports to the Division of STD Prevention, National Center for HIV/AIDS, Viral Hepatitis, STD, and TB Prevention.
¶¶¶ There were no cases of viral hemorrhagic fever reported during the current week. See Table II for dengue hemorrhagic fever.




                               FIGURE I. Selected notifiable disease reports, United States, comparison of provisional 4-week
                               totals January 7, 2012, with historical data
                                                                                                                                          CASES CURRENT
                                          DISEASE                             DECREASE                                    INCREASE           4 WEEKS

                                               Giardiasis                                                                                        500

                                      Hepatitis A, acute                                                                                          36

                                       Hepatitis B, acute                                                                                         80

                                      Hepatitis C, acute                                                                                          45

                                            Legionellosis                                                                                        115

                                                 Measles                                                                                            0

                                Meningococcal disease                                                                                             20

                                                  Mumps                                                                                             8

                                                Pertussis                                                                                        652

                                                            0.03125 0.0625        0.125       0.25       0.5         1          2          4
                                                                                            Ratio (Log scale)*
                                                                                            Beyond historical limits

                               * No measles cases were reported for the current 4-week period yielding a ratio for week 1 of zero (0).
                               † Ratio of current 4-week total to mean of 15 4-week totals (from previous, comparable, and subsequent 4-week
                                 periods for the past 5 years). The point where the hatched area begins is based on the mean and two standard
                                 deviations of these 4-week totals.




                                                     Notifiable Disease Data Team and 122 Cities Mortality Data Team
                                                                   Jennifer Ward                     Deborah A. Adams
                                                                   Willie J. Anderson                Lenee Blanton
                                                                   Rosaline Dhara                    Diana Harris Onweh
                                                                   Pearl C. Sharp                    Michael S. Wodajo




ND-2                   MMWR / January 13, 2012 / Vol. 61 / No. 1
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 16 of 29 PageID #: 37828
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 17 of 29 PageID #: 37829
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 18 of 29 PageID #: 37830
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 19 of 29 PageID #: 37831
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 20 of 29 PageID #: 37832
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 21 of 29 PageID #: 37833
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 22 of 29 PageID #: 37834
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 23 of 29 PageID #: 37835
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 24 of 29 PageID #: 37836
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 25 of 29 PageID #: 37837
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 26 of 29 PageID #: 37838
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 27 of 29 PageID #: 37839
Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 28 of 29 PageID #: 37840
    Case 3:17-cv-01362 Document 1115-19 Filed 10/24/20 Page 29 of 29 PageID #: 37841
                                                       Morbidity and Mortality Weekly Report




The Morbidity and Mortality Weekly Report (MMWR) Series is prepared by the Centers for Disease Control and Prevention (CDC) and is available free
of charge in electronic format. To receive an electronic copy each week, visit MMWR’s free subscription page at http://www.cdc.gov/mmwr/mmwrsubscribe.
html. Paper copy subscriptions are available through the Superintendent of Documents, U.S. Government Printing Office, Washington, DC 20402;
telephone 202-512-1800.
Data presented by the Notifiable Disease Data Team and 122 Cities Mortality Data Team in the weekly MMWR are provisional, based on weekly reports
to CDC by state health departments. Address all inquiries about the MMWR Series, including material to be considered for publication, to Editor,
MMWR Series, Mailstop E-90, CDC, 1600 Clifton Rd., N.E., Atlanta, GA 30333 or to mmwrq@cdc.gov.
All material in the MMWR Series is in the public domain and may be used and reprinted without permission; citation as to source, however, is appreciated.
Use of trade names and commercial sources is for identification only and does not imply endorsement by the U.S. Department of Health and Human Services.
References to non-CDC sites on the Internet are provided as a service to MMWR readers and do not constitute or imply endorsement of these organizations
or their programs by CDC or the U.S. Department of Health and Human Services. CDC is not responsible for the content of these sites. URL addresses
listed in MMWR were current as of the date of publication.


                          U.S. Government Printing Office: 2012-523-043/21099 Region IV                   ISSN: 0149-2195
